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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       ) No. CR. S-07-0059 LKK
                                     )
13                  Plaintiff,       )
                                     ) ORDER AFTER STATUS CONFERENCE
14        v.                         )
                                     )
15   VAN HUNG VI et alia,            )
                                     ) Judge: Hon. Lawrence K. Karlton
16                  Defendants.      )
     _______________________________ )
17
18        This order memorializes the status conference held October 30, 2007.
19        All parties requested, and the Court ordered, the following schedule
20   for filing of pretrial motions:
21          (1) motions due January 22, 2008;
22          (2) opposition due February 5, 2008;
23          (3) optional reply briefs due February 15, 2008.
24        The Court scheduled a non-evidentiary hearing on the motions for
25   February 26, 2008, at 9:30 a.m.
26        Also with the concurrence of all parties, the Court ordered time
27   under the Speedy Trial Act excluded through the filing of the motions
28   pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv).           The Court further
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 1   recognized that time is automatically excluded once the motions are
 2   pending.
 3            IT IS SO ORDERED.
 4
 5   Dated: : November 8, 2007
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     Stip. in U.S.A. v. L. Lewis              2
